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IN THE .CIRCulT Coua'z" oF Taa 15“‘
Jum'clAL oiaoun" ns ANI) son PALM
anacin couN'rY, sTA'rn oF lu,oR_x.I)A

 

Rc'ncttc .lcan»Baplislc on Bohall" of`Kcvens )
Jcan-Baptiste_, a minon )
me`uifjf )
)
V. )
l
'l`hc 'City ol` Boynton Bcach, a political subdivision ) Casc l\lo-.:
o‘[thc Siale of F.lo_i'ida, and (}crmai`ne Joncs, )
individually5 ) .Di\-'ision;
_Dofl’nd¢r!zfs, )
/'
§!)_l\LIBLA.IHI

COMES N()W`, Rone`ttc J<?:an-.Bapl=is_te on behalf oi`Kcvcns loan-Baptistc, a minor, by
and through undersigned couns_c.l_, seeks money damach in excess of $15,0()0.00, exclusive of
cosis, interest and attorncys’ fees and sues Thc fifty oi`Boynron Bcach,, a political subdivision of
the 'Statc of`l*`lorida, and Gcrmaine Joncs, in his individual capacity5 and statcs:

J_HRI§D;IQI§QNAL,ALLEQ_J$IJ§QB.S
l. T his is an action for damages in excess of SIS,OOO.UO (fiftcon.-'thousand 'dollars) plus
taxable cosfs.

2. This is an action which moots this Cou_rt’sjurisdictional threshold

L.AJ

Kcivcns Jean-Baptistc_”s claims arc presented through chcttc Jcan-Baptiste on his behalf
as a minor and arc'nladc pursuant I'o Floi-'ida Staf:ule ?'68.28; 42 U.S.C. §1933_; the 4"1 and
lll"' Amcndm'en'ts to the .Constiturion of thc Unitcd Siatcs oii“Amcrica.

4. All_ acts and occurrences material to this cause ol" action Wcre committed in Palni.Beach

Counl'y, Florida.

Page 1 of 7
DEFENDANT’S
EXHIB|T

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P_A._Ril`l`i§fls

5, Kevcns .iean-Bapti`stc [hereinafter Piaintll‘i] is presentlyr a'minor- and resident of the State
ol"l*".lorida, domiciled in Palm Beach C.ounty, lilorida. Renette Jeari~Baptiste is parent and
guardian of K_evens iean"tiaptiste and commences this suit on his behalfi

6. .Del`cndant, The City of Boynton Beach [hereinafte'r, Dei`endant City] is -a political
subdivision o'l" the State of F.lorida. In this cause, l)el"endant (.`,ity acted-through its agents
employees and -servants_.

7. Del"endant, Ger`maine Jones ihereinaiier, Det`endant .Ioncs_] is an adult resident of the
State ol`.l~`lorida and at all times material to the present allegations Was employed by 'l"he
City of Bo§ynton Beach in the capacity of a law enforcement oi`ticer. Defendant Jones is
sued -in his individual capacity

CONDITIO'NS _Pnt;:g_anar~_g_fri

8, All conditions precedent to'l'he prosecution oi` this action have oecu'rred, or have been
'performe<l, excused or Wa_lve_d.

9, t)n.or about August 25., 20]4, Plaintiii`t"t"orwarded a written notice pursuant to F-la. Stat.
768 to Defendant. City and the Florida Deparunent o:F.Fin_ar-rcial Servic_es, Divisi_on of Rislt

Managem_ent.

_GENERAL ALLE(§A'I"]UNS & FACTS C.OMM`ONAT() ALL C_Q'U.N'.I`S

l't). On May 8, 2014, a school bus operator transporting Palm Beach public school students
was stopped by the bus driver because several of the students Were alleged to have been

disruptive on the bus_

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ll.'Tlie school bus driver contacted Pahn Beach Coun'ty Schot)l Board Police C'entral
Dispatch, who then dispatched the Boynton Beacb I’olice .Department to address the
students.’ activity

._I)et`endant Jo_nes and Of`l:iccr liabrice Jeannit_on, who were both at that time law

enforcement oii`l`cers'cmploy'ed by the Boynton Beach Po_lice De_partment, an agency of
and within Defe_ndant City, arrived and boarded the school hus.

13¢. The bus driver suspected Pla`lntil`l` and another student o't" having involvement with
disruption on the bus T'he bus driver asked I')efendant .iones and Otticer Jeanni_ton to
remove .l"laintifl`and the other student from the bus.

`14` l`.)c;ien'dan`t Jones handcuffed then`swit`tly grabbed .Plaintiff around the neck_. physically
lifted him from the floor of- the bus and ;ti)rcibly shnt`llcd Plaintit`f down the narrow bus
aisle exit stepsq and onto thc ground near the hus.

15. Plalnti't"f., while standing in the location where he was placed, was then approached by
Ofticer Cynthi'a Rivera [hcreinat"ter Ol"tieer Rivera] who initiath conversation with
'hlrn. 4as Plaintiff began to explain to Ot`tlcer River'a the events that occurred on the bus,_
without provocation, Del`endant Jones quickly placed the handcuffed Pl_aintlft` in a rear
' choice hold, lifting him off the ground once again.

16. While holding `Pla'intift in a rear restraintl Det`endant .iones ibrcibly shut-tied Plaintii`f
across the sidewalk and seated him in the grass Det`endant'iones then walked away from
the area, leaving Plaintit`t` with Oflicers Jeanniton and l{lvera.

17. `Pla'int`it`f was then ordered to his tice-t by Ot`i"icer .'leanniton who grabbed the handcuffed

Plaintiff by his arm and raised him to 'a standing_t:)os`ltion.

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lS. Whilc t)t`ticet' hamilton and Plaintit`f were facing each olher, Defendant. .lones swiftly
walked directly towards Plain_til"t` l`rolu several feet away and applied a leg sweeping
maneuver to the now defenseless, handcuffed minor causing him to violently fall
uncontro] lably backwards `to the ground

191 Plaintit`t" laid niotionless on the ground for a i`ew moments as he hrielly lost
consciousness due to the l`-all. Plainti';tl sustained physical injury

20. A't all times-during his seizure and'detention, Plai_ntifl’s hands were_restrained behind his
back with handcuffs

SQQI_JIN_I. llONE)_

CLAIM FO.R .EXCESSIVE FQRC_E_J§BMATTERY_) AGAINST DEE;EBTDANT, CI'I.`Y,
C{)(}[§.l§ABIJE 'UNDER FLQB_I_I_)A L_A_W

l?or his cause o'l`action against _l)efcndant City, in C'ount l, Plainti:ll`re-alleges and adopts,
as i't't`ully set l"orth, the allegations contained in paragraphs l-2O and would further state:

'21. Deferidan`t Jon_es at all times relevant to this incident was an agent or employee of
De`fend_ant City, acting under color of law and in his course and scope of employment

22. lj.efcndant Jones did intentionally and unlawtlllly-touch Plaintift` by deliberately and
forcefully placing his arm-around the neck of the handcuffed Plaintll`l“, thereby creating a
choice hold.

2_3` Det`e'ndant Jones then lifted the handcuffed Plaintit`t`oi.`_t` the bus lloor. He forcibly carried
him several feet inside the bu.s_and also again alter shuffling Plalntiff ot`fthe bus, thereby
causing pain and physical injuries to the handcuffed Plaintit`f.

24-._Delendant .lones did intentionally and unlawfully touch Plaintit`f` by also deliberately
performing a leg sweeping maneuver on the handcuffed defenseless, minor Plaintift who

then fell uncontrollably backwards striking his head and back upon the ground

Page' 4 of 7

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25. The`actions ol`De'l`cndanl .lones were likely to, and actually did result in physical injury,
pain and phy_sical.disco.mfort to Plaintil"l`. n

26. "l`he Pla_i_ntiff did not consent to__'Del`endant .lones" usc ol"l`or_ce. ’l`he use oi`such force was

neither jns`tiliahle or excusable

27. The conduct of Del`endant. City’s agent towards Plaintiff1 as more fully set forth above,

was objectively unreasonable and constituted-unnecessary, excessive and actual use of
force constituting a series of excessive force against l’lainti.’t`;l".l

28, As a result ol` the actions of Dei"e`ndant City"s agent and employee, Plaintiff`has suffered

and continues to suffer damages which include.' physical pain and sufi`c-’;rlng, physical
discomfort, medical expenses for past, continued and future treatmenl, mental anguish

_ and emotional suffering, embarrassment lmmiliation1 and the accrual of legal costs and
fees,

WI_-_IERE'FORE, Plaintiff demands judgment against City for compensatory damages in-
cx-cess oi" $_1;5,000.005_ and costs ol` this action together with any post judgment interest. all
equitable relief-and requests ajn_liy trial ot`all issues so triable

COU"NT '_II (1_W0)
CLAIM O.F EX(`LS‘>IVI` FOR_CE (BA I"TFRY) AGAINS"I l)EFF-NDANT JONES_,
INI)`IVIDUA'LLY, (‘O(Yl\lZABLL UNDER 42 U. S. C 61933
Fnr his cause of action against Defendant Jones, individually in Coun't II, Plaintift` re-
allegcs_ and adopts, as if fully set forth, the allegations contained .i`n paragraphs 1-20 and would
i`uither slate as l`ollow$:
29._-Dei_endant_ .l_ones at all times relevant to this incident was an agent or employee of

:Dei"endant City, acting under color of law and in his course and scope ot` employment

Page 5 of ?

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30.-Defendant .lones did intentionally and unlawfully touch Plaintil`t` by deliberately and
forcefully placing his arm around the neck of the handcuffed .Plaintitl`, thereby creating a
choke hold.

31. Defendant J_oncs then lifted the handcuffed Plaintil`l" ol`t“the bus ticor. _l-.le forcibly carried
him several feet inside the bus and also again alter shuffling Plnintifl" off the bus. thereby
causing pain and physical injuries to the hand'eut`l`ed Plailttiit`.

'. Det`en'dant J`ones did intentionally and unlawfully touch l‘l_aintit`t` by also deliberately
}r)t`:l"_l"orlningl a leg sweeping maneuver on the handcuffed defenseless, minor Plaintit`t‘who
then fell uncon't_roi'lably backwards striking'hi_s head and back upon the ground

33. The actions ot"l`)et`endant Jones were likely to, and actually did result in physical in_iury,
pain and physical discomfort to P]alntit`f.

34. The Plain_tit`t`did not consent to Det`endant lones’ use ot`i`orce. The use of such force was
neither justifiable or excusable

35.- 'l`he conduct ot` Dcl`cndant C.ity’s agent towards Pl_aintift`,. as more fully set forth above,
was objectively unreasonable and constituted tmnecessar"y, excessive and actual use of
force constituting a series-of excessive force against Plaintiff.

` 36., The conduct o't"l)efendant _Jones towards Plainti:t`t`. as more fully se'l'folth iabove, was also
in violation ot.` Plaintitt"s clearly established constitutional rights under the 4th and 14th
Amendments ot` the Unite_cl States Const`itution; 42 U..SC. Section 1983; and F.lori'da
`]'aw.

37. As a direct and proximate result of the actions ot" Det`endant iones, in violation of 42
U.S.C. Sec_.tion l983_i Plalntift` suffered and continues to su'l"l"er damages Which_ include:

physical pain and sufferingj physical discomfort, medical expenses t`or past. continued,

Page G-of"J'

Case 9:18-cV-8074O-BB Document 1-4 Entered on FLSD Docket 06/08/2018 Page 7 ot 13

future treatnten_t, mental anguish and emotional suit`t"ering, etnbarrassment, humiliation,

the'incunnent of legal costs and fees all in violation of Plaintit`l"'s civil rights

WHEREFORE, Plain'tii`ft` demands judgment against'Det`endant .lones for compensatory and

exemplary damaged and costs.o_l" this action together vvith any postjudgment intere'st, imposition

of reasonable attorney fees pursuant to 42 'U.S.C. § 1988_. and, any and all equitable relief and

requests ajury trial off all issues so triable

Respecti`u]l'y Submi_tted_`

_s! Ke.vi_n R. Ande;;s_on

Kevin R. Anderson, Esq.

:i~`lot'ida Bar No.: 0044.3_57
andew'elc.h@andersonandwelch.co'tn
Anderso_n & Weic_h, LL`C

SOU'S. Australian Avei, 6“‘ Floor

W est Palm Beach, FL 3340] ~6237
"l"elephone'. 56-1~-332-3386

` Facsiniil_c_: '56'1-820»4867

A rtot-'ne )_;‘_or rita Plctirttijj”
Kevens Jean-Baptiste

P_a_ge 7 of 7

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JUDICIA_L omcm"r_m_ AND son PALM
lessen coUNTY, sum op _FLoRmA

chette Jean-'Baptiste on Behaif of Kevens
_Je:u'l~B:tptisto, a minor,-
Plat`m`g'[;f

v.
`The City of`Boynton Bcac-h, '-a political subdivision Caso No.; 5020}8€A_00559SXXXXMB
of the Stato of Florida, and Gei'maine -Joncs
individuaily,

Dty%izdarr£v.

`-\./\/W\_,W\./\....r\._,¢\../-\_/

 

§Di’*_-TM_ONS

tM,i>o`R.T'ANT § d ]@’[»» 3%/§3\ ,VM 7
'I’O`!PA`R.A?A: Gcrmainc Jc_me's C;:;'\$W¢‘Ij
cfc Boy.n_ton lic'ach Police.Dcpartmcnt` _ `

lUO;E, Boyriton Beach Blvd.
Boyntori `Beach, FL 33435'

'IM'PORTANT

A- lawsuit has been tiied ngoi.nst,you. You have ZI}-cnientlar days after this si_lmmons i_s_served 'on.
you to file a written response to the.attaehe_d complaint/petition with the clerk.ot"'tliis_ circuit court,.located`
at 205 Nocth Dixie`l-lighway', West' Palm Bench, Plorida 33401, A phone call will not protect you.- Your
written response, including the case number given above.and the names of the parties,- must be filed if you
want the Court to hear your side ofthe case _

If you do not file your written response on time, you may lose the case, and your wagcs,
_niorie_y, and property may he taken thereafter without further warning from the Court. Thsre are
other'feg'ai_ requirements You may want to cali an attorney right away._ If’ you do not know an ntto_'mey,
you maj cali an attorney referral service or a iegai aid-office (Iisted in the phone book).

lf you choose to tile a written response yourself, at the same time you file your Written response
to the ?Cour_t, you must also mail or take o copy of your written response to the party serving this summons
aff

ANDERSON 43 t'VsL cit LL C.

ATIN.- KEV!NK. ANDERSON ESQ.

500'.5‘. A USTRALMNA VE., S!XTH FLOOR
_ Wssr PALM BEACH. Ft, 33 401

TELEPHUNE& _(561) 332~33.5*5

Case 9:18-cV-8074O-BB Document 1-4 Entered on FLSD Docket 06/08/2018 Page 9 of 13

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Copies of all court documentation this case, including orders, are available at thc Clerk of tile

Cireuit Court’s office You may review these documents upon requestl

You must keep the Clerk ot" the Cireuit Court’s oft`iec notified of your current address
Future pupersiiu this lawsuit wili`be mailed to the address on record at the clerk’s ofiice.

'IMPORTANTE _

Us'ted lin-side demerlda`do.iegaimente. T.ien-e veinte (20) diasd eoutados a pari:ir del i‘eeibo de esta
uotit`lcae_ion, para eonte'star la demands adjunta, per eserito_. y pi'esentaria ante este tribunal Localizado
en;_ 205 Nortii Dixie- Highway, West Paim Beaeli, Flo.ride 334(}`1. Una liamado teiefoniea no lo i')rotegerai
Si _usted desea que ei tribunal considere- so defensa, debe'prese'ntar su respuesta per eserito, ineluyenclo el
num_ero del ease y los nombres de las partes interesadas_. Si usted no contesta la demanda a tiempo,
pudiese perder el easo y podria ser despojad_o de sua ingresos- y propiedades, o privado de sua dereeiios,
sin previo aviso del tribuual. E_Xisten otros requisites legales. Si lo desea, listed puecie consult`ar a 'un
abogad'o inmedie.ta'mente. Si no conoee a un ni)_ogatio, puede iiaiuar n uua de las oticinas deasiste.ncia
iega'i que aparecen en la guia teiefouiea,

Si des'ea tespouder n ia demaud`a per su eucnta, al mismo tiempo en que presente su respuesta
ante el tribuna|, _ust`ed debe en_v__iar- per eorreo o entregar` 'una copia de su i'esp_uesta_ a iu persona
denominada abajo.

Si§ usted= eiige pr_es¢ntnr_personalmente unit r_espuesta por escrito`, en el -misino momento quo listed
presente isn r_e_sp_uesttl_¢ pot eserito.-ai Tr_ib_u'n_ai, listed debe euvinr per eorreo o ilevar unn copia tie su
respues`ta pot eserito n 1a parte eutregan_do»esta_orden de eoinpareneencia a:

ANDERSON as WEL‘CH LLC..

n rnv,-_ Knmt n swenson ssQ.

500 s. n es-TRALMN A VE., smart moon
mesa PALM BEACH, rt 313-101
TELEPHONE: (551) 332-3336

Co_pi_n.s de todos los documeutos jutlieiales tie este cnso, incluyeudo las ordcues, estan_

disponii)'les en la t)`iie`ina -ciei Seel'etario de J`uzgado' del C-ircuito [Clerk of the Cir_euit Court’s ot`tice].
Estos` doeume'ntos pueden ser rcvisados a se solicitud,

listed dube-de marie-ncr informada a la oiicina del _Secretarii) de Juzgud_o del Cireuito de -su
direction actuai. Los papeins que-se presenten` en el future en csra tietuauda judicial sei":m env ratios
per correa-a la dimension que este registrada en ia ni'ieinn del Seeretario.

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iMPO_RTANT

Des poursuitesjudiciaries out ele enrrep_rises contie vou's. Vous oven 20 jouts consecutit`s a pa_l_‘tir
de la date -de l’assignation.de colts citation po'_ur deposes use reponse ecrite o la plainte ei~jointe oupres de
cc tribunal. Qui se trouve a: 205 Norih Dixie Highway-, West Pal_m Beach, F|orida 334'0i. Un Sjmple
coup de telephone est insut`tisunt pour vous proteger;` vous ete`s obliges de deposer votre i§epon_se eol'ite,
avec- mention du numero de dossie_r ci-dessus et du nom des parties nominees ioi, si 'vous souhaitez quo le
tribunal entend'e notre cause Si vous ne deposes pas votre reponse ecrjte dana le delai requ_is, vous
risqu_e_z de perdue lo cause aiusi que votre salaire, -votre argent, et vos bieus peuvent etre saisi-s par la suite,
sans _a`ueun prea'vis ult.erieur du triouna|. ll y n d'autres obligations juridiques et vous poiwez requerir les
services immediate d’un avooat. Si vous ne c'onu_aissez` pas ¢d`avoealti vous pourriez telephoner a un
sewice de reference d’avooats ou a un bureau d’n`ssistancejurid`ique (fi'gurant a l"a`nuuaire tie reiepllones).

Si vou's-'chois`issez_ de deposes volts-memo une¢reponse e_orite, il v_o_us. t`audra egalement,- en memo
teiups quo cette formalite, faire parvenir ou expedier one copie au carbone ou one photocopie de votre
fepo`nse ecrit`c a ia pm"tie qui v'ous depose cctte oitati`on,

swenson & WEL CH, LL_c_

martin R. ANDEHSQN, _a;S'Q.

juu's. AUSTRALMNA_:/a, santanaqu
WES"I"PALM esa CH, FL 3340)

TEI. EPHONE.~ (561) 632-3536

Le's-phot`o_c'opies dc tons les documents tribunals de costa ‘couso_, y c-ompris des ain-'ets, sont

dis_ponible nn bureau du greftier. Vous pouvez revueces documents, sur dema`nde.

ll faut'aviser le gl‘ei`i`icr dc 'votre udresse actuclle I..cs documents de i’avenir dc ce proces
salient euvoyer a l"adre_sse quo vous donncz nu bureau du grcf.iier,

You are commanded to serve this summons and a copy of the Complainl in this lawsuit on the above~
named municipality '

.Muy us 2013

' . DATED:

 

CLERK OF THE CIRCUIT COURT

>NMFH’D

Deputy'C lerk S`HA`NNON F-ATU

(-SEA`L)

 

 

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IN THE CIRCUIT COURT OF THE 15th
JUDlCIAL CIRCUIT IN AND FOR PALlV_[
BEACH COUNTY, STATE OF I*`LORI])A

Renette Jean-Baptiste on Behalfot`Kevcns
Jcau-B aptiste, a minor,
Ptat'nt§jf

V.

'I'.hc City of Boynton Beach, a political subdivision Case No.: §§ 3 Of§"'c AO£) 53"§_33 lim m £-.'t

ofthe State ofFlorlda, and Germaine Jones

` ""‘» ‘_»¢__“ -¢""\_-,.¢.\..`w_.’*&wr *-\.l¢" W W- \-»¢ \-¢"

 

individually, Division:
Dej?mdants.
summons jtl$/ ,
IMPORTANT g §§ / 112
/ wl
TO!PARA/A: 'I'he City of Boynton Beach, ` c § »‘}
a political subdivision urine stare statutes 61 f .

100 E. Boynton Beaoh Blvd.
Boynton Bcaoh, FL 33435

[MI’ORTAN'I`

A lawsuit has been liled against you. You have 20 calendar days after this summons is served on
you to file a written response to the attached complaint/petition with the clerk of this circuit court, located
at 205 North Di;xie Highway, West Palm Boach, Florida 33401. A phone call will not protect you. Your
written response including the ease number given above and the names of the parties. must be filed if you
want the Court to hear your side of the oase.

If you do not file your written response on time, you may lose the ease, and your wages,
money, and property may be taken thereafter without further warning from thc Court. Thece are
other legal requirements You may want to call an attorney right away. lt` you do not know an attorney,
you may call an attorney referral senrice or a legal aid office (listed in the phone book).

If you choose to file a written response yourself, at the some time you tile your written response
to the Court, you must also mail or take a copy of your written response to the party serving this summons
at:

ANoErsoN& WchH, ttc.
AHN- name ANDERSOM EsQ.

500 s. AUsrRALrANArn. smurzoon
WESTPALM ass cn; FL 33401
rstepnonn; (561) 832-3336

¢- - ,.,.-.,,M_M ~..M..\.….......

Case 9:18-cV-8074O-BB Document 1-4 Entered on FLSD Docket 06/08/2018 Page 12 of 13

Copies of all court documents in this case, including orders, ore available at the Clerk of the

Circuit Court’s ofliee. You may review these documents, upon requestl

You must keep the Clerir of the Circuit Court’s oiiice notified of your current address
Future papers iu this lawsuit will be moiled to the address on record at the clerk’s oi'iice.

IMPORTANTE

Usted ha sido demandst legaimente. Tiene veiute (20) dies, contados a partir del recibo de esto
uotificuciou, para contestar la demands udjuntu, por escrito, y presentarla ante este tribunsl. Localizado
en: 205 North Dixie Highway, West Palm Beach, F_loxidu 33401. Une llomuda telei`onico no lo protegera.
Si listed desea que el tribunal considers so defensa, debe presented su reepuesta per escrito, incluyendo el
numero del esso y los nombres de los partes interesadss. Si usted no contests lo demands a dempe,
pudiese perder el esso y podria ser despojado de sue ingresos y propiedsdes, o privado de sus derechos,
siu previo aviso del tribunal. Existen otros requisites legales. Si lo desea, usted puecle consultar a un
abogado iornediatnmente. Si no conoco a un obogado, puede llamar a una de los ofioinas de asisteneiu
legal que aparecen en le guia teiefoniea.

Si desea responder a is demands per su cuente, al mismo tiempo en que pressure su respuesta
note el tribunel, listed debe enviar per correo o entregar una copia de so respuesta n- la persona
denominado abajo.

Si usted elige presentar personalmente` una respuesta per eserito, en el mismo momento que us_ted
preseute su respuestu por esorito al Tribuusl, usted debe envisr por correo o llevar uno eopia de so
respuesta por esc:rito n le parte entregaudo esta orden de comparencencio a:

ANDERSON s WEL cH, LLC.
AJTN_- KEV;N n swenson ESQ.

soo s. AUSTRALIANA VE., leTH noon
Wssr PALM sss cH, .FL 33401
TELEPHONE.- (561) 332~3336

Copias de todos los documentos judiciales de este eoso, incluyeudo las ordenes, estan

disponibles en la oficina del Secretario de Juzgado del Circuito [Clerk of the Circuit Court’s oft`iee].
Estos doeumcntos pueden ser revisados a sl! solicitud.

Usted dube de maneuer iniorma_da a la oiieina del Secretario de Juzgado del _Cl_reuito de su
direccion actusl. Los pnpclos quo se presenten en el future en esta demands judicial serao env adds
per correo n lu_ direceion que ustc registrndo en la oi`icina del Secretarlo.

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IMPORTANT

Des poursuites judiciaries ont cte entreprises centre vous. Vous oven 20 jours consecutifs a partir
de la date de l’nssignation de cette citation poor deposer unc reponse ecritc a la plainte ci-_joiute eupres de
ce tribunal Qui se trouve a: 205 North Dixie Highway, West Palm Beach, Florida 33401. Un simple
coup de telephone est insufiisant pour vous proteger; vous etes obliges de deposer votre reponse ecritc,
avco mentiou'du numero_de dossier ci»dessus et du nom des parties nominees ici, si vous souhaitez que le
tribunal entende votre cause Si vous ne deposes pas votre repcnse ecrite doris le delai rcquis, vous
risquez de perdre 1a cause ainsi que votre saleire, votre argent, et vos biens peuvent etre saisis psr la suite,
sans aucun preuvis ulterieur du tribunal. II y s d’autres obligations juridiques et vous pouvez requerir icc
services immediate d’un avocat Si vous ne connaissez pas d’avocat, vous pourriez telephoner a un
service de reference d’avoeets ou a un bureau d’assistancejuridiqne (iigurant a l’unuuaire d_e telephones].

Si vous choisissez de deposer vous-meme unc reponse ecrite, il vous faudrc egalement, en memo
tempe que cette fonnalite, i`aire parveuir on expedier unc copie au carbone cu unc photocopie de votre
reponse ecrite a la partie qui vous depose cette citation

ANDERRNV&FWEGHILC
KEWNRMMWHHBOMEMQ

500 S. AUSTRALMNA VE., SLYTH .F‘LOOR
WEST PALM BEACH, FL 33401
TELEPHONE: (5 61 ) 832-3336

Lcs photocopies de tons les documents tribunals dc cette cause, y compris des arrets, sent

disponible nu bureau du grefiier. Vous pouvez revue ces documents, sur dem`ande.

Ii foot aviser le grel`fier de votre adresse sentelle Les documents de i’avenir de ce proces
scront envoyer a l’ sdresse quo vous donncz au bureau du greffier.

You are commanded to serve this summons end a copy of the complaint iu this lawsuit on the above-

 

named municipality.
DATED:
May 09 2018 m
CLERK OF THE CIRCUIT COURT
(SEAL)

 

By: t MM. _

Deputy Clerk 7
BLAKE SMlTH

